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                                                                [Doc. No. 4, 6]
                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


    TERRY MCDANIEL,

                         Plaintiff,

    v.                                         Civil No. 17-3495(RBK/JS)

    DAIICHI SANKYO, INC., et al.,

                         Defendants.


                          MEMORANDUM OPINION AND ORDER

          This matter is before the Court on the “Motion to Withdraw”

(“motion”) [Doc. No. 6]1 filed by plaintiff’s counsel, Thomas

Cartmell, Esquire, Jeffrey Kuntz, Esquire, and David DeGreeff,

Esquire, on behalf of their law firm Wagstaff & Cartmell, LLP

(hereinafter collectively referred to as “counsel”). No opposition

to       the   motion   has   been   filed.   The   Court   recently   held   oral

argument.        Counsel seeks to withdraw because the case is too

expensive now that his client has chosen to litigate rather than

settle. For the reasons to be discussed, counsel’s Motion to

Withdraw is DENIED.




1This Order also addresses plaintiff’s “Motion to Withdraw a Filed
Document” [Doc. No. 4]. That motion sought to retract a previous
Motion to Withdraw as Counsel filed on the docket [Doc. No. 3].
Because the previous Motion to Withdraw as Counsel [Doc. No. 3]
has already been terminated, Doc. No. 4 is DENIED as moot.

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BACKGROUND

     Because the Court writes primarily for the benefit of the

parties and the parties are familiar with the background of this

matter, only the most salient facts will be set forth. This case

is part of a multi-district products liability litigation (“MDL”)

wherein individual plaintiffs, including Terry McDaniel, brought

suit against Daiichi Sankyo Inc., Daiichi Sankyo U.S. Holdings,

Inc.,   and    Forest    Laboratories,    Inc.    alleging   adverse   drug

reactions     to   the   olmesarten   family     of   pharmaceutical   drugs

developed and marketed by defendants. Approximately 2,000 related

lawsuits are pending before the Court. On or about August 1, 2017,

defendants and a committee of plaintiffs’ counsel reached an

agreement in principal to settle. The agreement was supplemented

in 2018. The parties’ settlement set up a detailed voluntary

settlement program whereby each participant was required to opt in

in order to participate. Plaintiff is one of only five claimants

who have not elected to participate in the voluntary settlement

program.

     On June 6, 2018, the Court issued an Order requiring any

plaintiff who had not enrolled in the settlement program by the

enrollment deadline to appear with counsel before the Court on

July 24, 2018. Plaintiff did not enroll in the settlement by the

deadline. Accordingly, he appeared with counsel on July 24, 2018.

At that hearing, plaintiff informed the Court he did not want to

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enroll in the settlement program but requested to proceed with his

claims individually. The Court offered plaintiff additional time

to think about his decision, requiring plaintiff to inform the

Court of his final decision by July 30, 2018. On July 30, plaintiff

informed the Court of his intent to enroll in the settlement

program. [Doc. No. 9]. However, the following day, counsel informed

the Court plaintiff changed his mind and was declining to enroll

in the settlement program. [Doc. No. 10].

     Counsel for plaintiff filed this Motion to Withdraw stating

that it is their belief that entering into the settlement program

is in the best interest of the plaintiff. Brief in Support of

Motion (“Mot.”) [Doc. No. 6-1] at 2. However, counsel acknowledges

plaintiff has the right to move forward with his claims against

their recommendation.       Id. Nevertheless,        counsel   contends    they

should be permitted to withdraw primarily because plaintiff’s

decision to litigate presents a financial burden on counsel. Id.

DISCUSSION

     Pursuant    to   L.   Civ.    R.   102.1,    unless    other   counsel   is

substituted,    withdrawal    of    counsel      requires   leave   of   court.

Rusinow v. Kamara, 920 F. Supp. 69, 71 (D.N.J. 1996). In deciding

whether to permit an attorney to withdraw, the Court should

consider: “(1) the reasons why withdrawal is sought; (2) the

prejudice withdrawal may cause to other litigants; (3) the harm

withdrawal might cause to the administration of justice; and (4)

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the degree to which withdrawal will delay the resolution of the

case.” Id. Ultimately, whether to permit withdrawal is within the

Court’s discretion. Id. at 71. Further, the Court may refuse to

permit an attorney to withdraw despite a showing of good cause.

Haines v. Liggett Grp., Inc., 814 F. Supp. 414, 422-23 (D.N.J.

1993) (citing RPC 1.16(c)).

     Here, counsel seeks withdrawal pursuant to New Jersey Rules

of Professional Conduct (“RPC”) 1.16(b)(1), (6) and (7). Counsel

argues: (1) counsel’s withdrawal will not have a material adverse

effect on plaintiff; (2) requiring counsel to continue to represent

plaintiff would place an undue financial burden on counsel; and

(3) the retainer agreement between counsel and plaintiff permits

counsel to discontinue their representation. After evaluating all

relevant factors, the Court finds counsel’s motion must be denied.

     A. Prejudice to Plaintiff

     Pursuant to RPC 1.16(b)(1) a lawyer may not withdraw from

representation    unless “withdrawal can be accomplished without

material adverse effect on the interests of the client.” Counsel

contends “withdrawal as counsel for plaintiff can be accomplished

without material adverse effect on his interests.” Mot. at 1.

Counsel points out the case has not been set for trial and

discovery has not been completed. Id. Counsel avers the case is in

the early stages, therefore, plaintiff “has time to find a new

lawyer, and a new lawyer could easily take this case over without

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any delay to get up to speed.” Id. Accordingly, counsel argues

their withdrawal would not prejudice plaintiff.

     The Court disagrees with counsel and is convinced plaintiff

will be substantially and materially prejudiced if counsel is

permitted to withdraw. It is doubtful plaintiff will be able to

retain new counsel at this stage in the litigation. Although trial

has not been scheduled and discovery is not complete, this MDL has

been ongoing since 2015. Because a detailed settlement program has

been agreed to, and plaintiff is one of only five plaintiffs who

elected to litigate rather than settle, it is almost certain

plaintiff will not be able to find counsel willing to represent

him. This is a complex drug liability case that will require

substantial resources to prosecute. Plaintiff does not have the

resources to fund the litigation. Even counsel acknowledges the

value of plaintiff’s claim is not enough to pay for the necessary

litigation expenses to pursue the case. Given this situation,

plaintiff will not be able to find new counsel to represent him.

     Further, counsel represents several hundred other plaintiffs

in this MDL. Given their experience acquired throughout the course

of this litigation, counsel is or should be knowledgeable regarding

the relevant facts, documents, expert testimony, and legal issues

in the case. It would take replacement counsel a significant amount

of time to become familiar with the case. Other courts have denied

motions to withdraw on similar grounds. See Haines, 814 F. Supp.

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at 425 (denying motion to withdraw in part because counsel was

involved in multiple similar cases against the same defendants,

thus counsel was “uniquely aware of the facts, documents, expert

testimony,    litigation     strategy,     legal     issues    and    legal

authority”); Cuadra v. Univision Communs., Inc., C.A. No. 09-4946

(JLL), 2012 U.S. Dist. LEXIS 48431, at *29 (D.N.J. Apr. 4, 2012)

(denying motion to withdraw in part because case had been ongoing

for three years and counsel was “uniquely aware of the facts,

documents, and legal issues”).

     Moreover, plaintiff’s claim is too complex for him to pursue

pro se. “In cases where withdrawal would significantly impair a

party’s ability to maintain the action, the court has not permitted

counsel to withdraw.” Rusinow, 920 F. Supp. at 72 (citing Haines,

814 F. Supp. at 425; Kriegsman v. Kriegsman, 150 N.J. Super. 474,

479-80 (App. Div. 1977)). Here, plaintiff would be unable to

maintain his claims against defendants because it is unlikely he

will be able to find replacement counsel and his claims are too

complex to pursue pro se. Both the parties and the Court would

face significant delay and burden if plaintiff were forced to

proceed pro se. See Cuadra, 2012 U.S. Dist. LEXIS 48431, at *29

(denying motion to withdraw in part because the parties and the

court would face “unmanageable delays and burden” if plaintiff

were forced to find replacement          counsel or proceed pro se).

Further, an attorney’s withdrawal in the MDL context has particular

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potential   to   harm   the   administration    of   justice   and   become

burdensome on the Court. See In re FEMA Trailer Formaldehyde

Products Liability Litigation, MDL No. 07-1873, 2011 WL 4368719,

at *2 (E.D. La. Sept. 16, 2011)(denying motions to withdraw in MDL

case because withdrawal would harm the administration of justice

and bring administration of the MDL “to a grinding halt” as the

court and defense counsel would be forced to take on the burden of

locating and communicating with pro se plaintiffs). Accordingly,

withdrawal is inappropriate.

     B. Financial Burden on Counsel

     To support their motion, counsel relies on RPC 1.16(b)(6)

which states that an attorney may withdraw his representation if

“the representation will result in unreasonable financial burden

on the lawyer or has been rendered unreasonably difficult by the

client.” Counsel argues requiring them “to continue representing

[p]laintiff places an undue financial hardship/burden on them.”

Mot. at 2. Counsel contends requiring them to move forward in their

representation would cost them “hundreds of thousands of dollars

to get the matter up to and through trial—i.e. expert reports,

depositions, travel, hotel rooms and accommodations for a multi-

week trial, getting experts to trial, etc.” Id. Counsel argues

such expenses “will exceed any potential jury verdict in this

matter,” leaving them with unreimbursed expenses. Id. They aver

“this is particularly unreasonable given that [p]laintiff’s take

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home portion from his projected settlement award most likely

exceeds any amount he would ultimately walk away with from a jury

award at trial.” Id.

      Counsel’s arguments are not persuasive. An attorney does not

have the right to withdraw as counsel for his or her client at his

or her whim. “A sudden disenchantment with a client or a cause is

no basis for withdrawal.” Rusinow, 920 F. Supp. at 72. An attorney

has certain obligations and duties to a client once representation

is   undertaken,   and   the   obligations   in   this   respect   “do   not

evaporate because the case becomes more complicated or work more

arduous or a retainer not as profitable as first contemplated or

imagined.” Kriegsman, 150 N.J. Super. at 479-80. The fact that it

will be expensive to litigate the case is not a surprise to

counsel. They knew this when they undertook to represent plaintiff.

If counsel is now “scared off” by the prospect of paying for trial,

counsel should not have undertaken the representation of plaintiff

in the first instance. The Court will not countenance a situation

where a lawyer is permitted to abandon a client who chooses not to

settle.

      Although counsel predicts the cost of trial will exceed the

jury verdict, this is not necessarily the case. Further, even if

true, this does not automatically warrant counsel’s withdrawal.

See Haines, 814 F. Supp. at 419 (denying motion to withdraw even

though counsel alleged the costs of litigation would exceed the

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amount of recovery); Kriegsman, 150 N.J. Super. at 480 (finding

plaintiff’s   inability      to    pay   all   fees   counsel     demanded   was

insufficient grounds to grant the motion to withdraw because it

would    be   difficult      for     plaintiff        to   find    replacement

representation and trial was imminent).

      An analogous situation was present in Haines, supra. In

Haines, a law firm brought eight cases against the cigarette

industry on behalf of individuals who developed lung cancer from

smoking. 814 F. Supp. at 416. The firm sought to withdraw its

representation of one of the plaintiffs because litigation against

the   cigarette   industry    had    become    an   “unreasonable    financial

burden” and the case in which the firm sought withdrawal was likely

to be unprofitable. Id. at 418. The court denied the motion to

withdraw finding that withdrawal on the grounds that the case may

be unprofitable would be inappropriate. Id. at 425. The court

further noted that the firm possessed unique knowledge given its

representation of several plaintiffs in similar cases. Id. The

court determined if withdrawal were permitted, the plaintiff would

be disadvantaged because it was unlikely she would be able to find

replacement counsel, let alone replacement counsel experienced in

the same type of litigation. Id. Accordingly, the court determined

there was no way to minimize the harm to plaintiff and the case

was unlikely to move forward if withdrawal were permitted. Id. For




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the same reasons withdrawal was denied in Haines, counsel’s motion

is denied.

      Further, the parties in Haines entered into a contingency fee

agreement. Id. The court noted that just as the plaintiff would be

unable to disavow the contract if the case settled quickly and the

firm had to do minimal work, the firm could not disavow the

contract because the case had become potentially unprofitable. Id.

at 426. Ultimately, the court determined it would be inappropriate

to allow the firm to withdraw merely because the retainer turned

out to be less lucrative than counsel had once hoped. Id.

      Just as the firm in Haines undertook the representation of

several plaintiffs in similar cases, counsel here undertook the

representation of hundreds of plaintiffs in this MDL. Counsel

cannot     disavow    their    agreement    with    one    plaintiff    because

representation of that plaintiff may become unprofitable. Just as

in   Haines,   it     is   unlikely   plaintiff     will   be   able   to   find

replacement counsel, let alone counsel informed about the facts

and issues in this MDL. Further, just as in Haines, counsel entered

into an agreement to represent plaintiff. Counsel cannot disavow

the representation because their agreement may turn out to be less

lucrative than counsel originally thought.

      In   cases     “where   withdrawal    would   significantly      impair   a

client’s ability to find substitute counsel or to maintain the

action, courts have refused to permit withdrawal despite the fact

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that   representation    has   become     unprofitable      for    the    client’s

lawyers.” Haines, 814 F. Supp. at 425 (citing Kriegsman, 150 N.J.

Super.   at   479-80).   Here,    although       litigating    the      case   will

undoubtedly    be    expensive,   for      the    reasons     already      stated,

withdrawal would significantly and materially prejudice plaintiff.

Thus, withdrawal is inappropriate.

       C. The Retainer Agreement

       Counsel also cites to RPC 1.16(b)(7) which states that an

attorney may withdraw if “other good cause for withdrawal exists.”

Counsel contends that withdrawal is permitted pursuant to their

retainer agreement with plaintiff. Mot. at 3. Specifically, the

agreement states that counsel “may withdraw from representation of

[plaintiff]” if they believe the “claim does not have a chance of

success significant enough to proceed.” Id. The Court is not

persuaded by counsel’s argument. The retainer agreement does not

supersede counsel’s obligations under the Rules of Professional

Conduct.   Counsel    undertook   certain        obligations      and    duties   to

plaintiff when he was retained. These obligations do not disappear

because the case becomes more             difficult or the         outcome less

profitable or predictable than originally anticipated. Kriegsman,

150 N.J. Super. at 479-80.

       At bottom, counsel seeks to withdraw because the client has

chosen to litigate rather than settle. This is not a sufficient

reason to withdraw. See RPC 1.2(a)(“A lawyer shall abide by a

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client’s decision whether to settle a matter.”). It has long been

recognized that an attorney owes a duty of zealous representation

to his or her client. LoBiondo v. Schwartz, 199 N.J. 62, 100

(2009). When counsel “signed up” hundreds of clients they undertook

to represent all of their interests, not just those who elected to

settle. Counsel’s obligations do not stop when a client rejects a

settlement    offer.    While     it   will    undoubtedly        be    expensive      to

litigate the case, this is a risk counsel undertook when they chose

to represent plaintiff. Haines, 814 F. Supp. at 427 (stating that

when   a   plaintiff    and     attorney      enter   into    a    contract       on    a

contingency fee basis, the attorney cannot then walk away from the

contract simply because “the case may not generate the return it

expected at the outset”). Counsel’s obligations to their client do

not evaporate when counsel’s economic interests are at risk. As

noted in Haines, “[a]s with all contingency fee arrangements, [the

firm] knowingly assumed the risk that its arrangement with [the

plaintiff] would not match its initial prediction of costs and

returns.” 814 F. Supp. at 427. Further, “the needs and obligations

of the contingency fee system dictate that [the law firm] not be

permitted to close the door to the courts which it has opened. To

permit withdrawal would be to permit the nullification of any

contingency    fee     contract    which      later   turns       out   to   be   less

profitable than originally thought.” Id. at 428. The fact that




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hundreds of counsel’s clients settled is undoubtedly lucrative.

Counsel must accept the good with the bad.

CONCLUSION AND ORDER

      For the foregoing reasons, counsel’s motion will be denied.

Accordingly,

      IT IS HEREBY ORDERED this 15th day of August, 2018 that

counsel’s Motion to Withdraw [Doc. No. 6] is DENIED; and it is

further

      ORDERED counsel’s Motion to Withdraw a Filed Document [Doc.

No. 4] is DENIED as moot.


                                   /s/ Joel Schneider
                                   JOEL SCHNEIDER
                                   United States Magistrate Judge

Dated: August 15, 2018




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